                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE: Denise M. Riccio fka Denise Jubo aka Denise           BK NO. 21-02046 MJC
Marie Riccio
                             Debtor(s)                       Chapter 13

M&T Bank
                                 Movant                      Hearing Date: 2/15/2022

                vs.

Denise M. Riccio fka Denise Jubo aka Denise Marie
Riccio
                              Respondent(s)

                               OBJECTION OF M&T BANK
                         TO CONFIRMATION OF CHAPTER 13 PLAN

        M&T Bank (hereinafter Movant), objects to confirmation of Debtor's Chapter 13 plan and asserts
in support of its Objection as follows:
        1.      Movant’s claim is secured by a mortgage on Debtor’s property at 102 Wood Haven
Court, Milford, PA, 18337.
        2.      On October 20, 2021, Movant filed a secured proof of claim setting forth the Total Debt
in the amount of $41,558.51, pre-petition arrears in the amount of $12,031.28 with an annual interest rate
of 7.00%.
        3.      Debtor's Plan provides for payment in the amount of $42,805.27 with an annual interest
rate of 3.00% towards the Total Debt claim of the Movant.
        4.      Debtor’s Plan understates the amount of the Movant’s claim by and not providing
sufficient funding to pay said claim including present value interest and thus is not in compliance with
Till v. SCS Credit Corp., 541 U.S. 465 (2004).
        5.      Accordingly, Debtor's Plan is not feasible, as it does not fully compensate the Movant.
        6.      In addition, the Debtor’s Plan fails to comply with 11 U.S.C. §§ 1322 and 1325.
        WHEREFORE, the Movant, M&T Bank, prays that the Court deny confirmation of the Debtor’s
Plan.

                                                 Respectfully submitted,

Date: January 28, 2022
                                                     By: /s/ Rebecca A. Solarz, Esquire
                                                         Rebecca A. Solarz
                                                         KML Law Group, P.C.
                                                         BNY Mellon Independence Center
                                                         701 Market Street, Suite 5000
                                                         Philadelphia, PA 19106
                                                         215-627-1322
                                                         Attorney for Movant/Applicant


Case 5:21-bk-02046-MJC            Doc 27 Filed 01/28/22 Entered 01/28/22 17:00:14                     Desc
                                  Main Document     Page 1 of 1
